
Per Curiam.
Altaony Cason argues that his two convictions for resisting an officer without violence violate the prohibition against double jeopardy because both convictions were based on one continuous criminal episode, albeit involving two officers. The State concedes error, and we agree. E.g. , R.J.R. v. State , 88 So.3d 264, 266-68 (Fla. 1st DCA 2012) ; D.A.R. v. State , 22 So.3d 850, 851 (Fla. 4th DCA 2009) ; Fogle v. State , 754 So.2d 878, 879 (Fla. 1st DCA 2000). We reverse and remand for the trial court to vacate one of the convictions. See Johnson v. State , 246 So.3d 1277 (Fla. 1st DCA 2018).
Rowe, Osterhaus, and Kelsey, JJ., concur.
